 Case 2:18-cv-05741-DMG-PLA Document 120 Filed 10/26/18 Page 1 of 4 Page ID #:4274




 1   JOSEPH H. HUNT
     Assistant Attorney General
 2   Civil Division
     BRIENA L. STRIPPOLI
 3   Senior Litigation Counsel
     BENJAMIN MARK MOSS
 4   Trial Attorney
     MARINA STEVENSON
 5   Trial Attorney
     ANDREW B. INSENGA
 6   Trial Attorney
     Office of Immigration Litigation
 7   U.S. Department of Justice - Civil Division
            P.O. Box 878
 8          Ben Franklin Station
            Washington, DC 20044
 9          Telephone: (202) 305-7816
            Facsimile: (202) 616-4950
10          andrew.insenga@usdoj.gov
     Attorneys for DEFENDANTS
11
                        UNITED STATES DISTRICT COURT
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

13                                         ) Case No.: 2-18-CV-05741
     LUCAS R., et al.,                     )
14   Plaintiffs,                           ) UNOPPOSED MOTION TO STRIKE
                                           ) PORTIONS    OF PARAGRAPH 7 OF
                                             THE DECLARATION OF JAMES S.
15          vs.                            ) DE LA CRUZ, ECF 100-1
                                           )
16   ALEX AZAR, Secretary of U.S. Dep’t of )
     Health and Human Services, et al.,    )
17   Defendants                            ) Honorable Judge Dolly Gee
                                           )
18                                         )

19

20


                    UNOPPOSED MOTION TO STRIKE PORTIONS OF PARAGRAPH 7
                    OF THE DECLARATION OF JAMES S. DE LA CRUZ, ECF 100-1- 1
 Case 2:18-cv-05741-DMG-PLA Document 120 Filed 10/26/18 Page 2 of 4 Page ID #:4275




 1         Defendants ask this Court to strike portions of paragraph 7 of the September

 2   28, 2018 Declaration of James S. De La Cruz filed at ECF100-1. In support

 3   thereof, Defendants aver the following:

 4            1. On September 28, 2018, Defendants filed the Declaration of James S.

 5         De La Cruz. ECF 100-1.

 6            2. The declaration updated the Court on the status of seven named

 7         Plaintiffs using their pseudonyms.

 8            3. The information contained in the declaration was based upon the

 9         declarant’s review of the Department of Health and Human Services’s

10         records, as well as, information provided to the declarant by the

11         Department’s employees.

12            4. Paragraph 7 of the declaration contained information regarding

13         “Miguel Angel S.”

14            5. The parties have agreed to excise a portion of the declaration to omit

15         extraneous information with regard to Miguel Angel S., not relevant to the

16         adjudication of the pending motions (to dismiss and to certify a class), and

17         which Plaintiffs contend is confidential.

18            6. This request is made in good faith.

19            7. Defendants thus move the Court to strike the declaration of James S.

20         De La Cruz filed on September 28, 2018, and found at ECF No. 100-1, and


                    UNOPPOSED MOTION TO STRIKE PORTIONS OF PARAGRAPH 7
                    OF THE DECLARATION OF JAMES S. DE LA CRUZ, ECF 100-1- 2
 Case 2:18-cv-05741-DMG-PLA Document 120 Filed 10/26/18 Page 3 of 4 Page ID #:4276




 1         replace it with the attached declaration dated nunc pro tunc that does not

 2         contain extraneous information regarding Miguel Angel S. that Plaintiffs

 3         contend is confidential.

 4            8. Counsel for Plaintiffs indicated that they do not oppose this motion.

 5         This unopposed motion is made following the conference of counsel

 6   pursuant to L.R. 7-3 which took place on October 24, 2018.

 7   Dated this 26th day of October 2018.

 8                                                RESPECTFULLY SUBMITTED,

 9                                                JOSEPH H. HUNT
                                                  Assistant Attorney General
10                                                Civil Division
                                                  BRIENA L. STRIPPOLI
11                                                Senior Litigation Counsel
                                                  BENJAMIN MARK MOSS
12                                                Trial Attorney
                                                  MARINA STEVENSON
13                                                Trial Attorney

14                                                   /s/ Andrew B. Insenga
                                                  ANDREW B. INSENGA
15                                                Trial Attorney
                                                  Office of Immigration Litigation
16                                                Civil Division
                                                  U.S. Department of Justice
17                                                P.O. Box 878
                                                  Ben Franklin Station
18                                                Washington, DC 20044
                                                  Telephone: (202) 305-7816
19                                                Facsimile: (202) 616-4950
                                                  andrew.insenga@usdoj.gov
20                                                Attorneys for DEFENDANTS


                    UNOPPOSED MOTION TO STRIKE PORTIONS OF PARAGRAPH 7
                    OF THE DECLARATION OF JAMES S. DE LA CRUZ, ECF 100-1- 3
 Case 2:18-cv-05741-DMG-PLA Document 120 Filed 10/26/18 Page 4 of 4 Page ID #:4277




 1                               CERTIFICATE OF SERVICE

 2         I certify that on October 26, 2018, I caused a copy of the foregoing

 3   Unopposed Motion to Strike Portions of Paragraph 7 of the Declaration of James

 4   S. De La Cruz, ECF 100-1, to be filed through the Court’s CM/ECF system, which

 5   caused a copy to be served on Petitioners’ record counsel.

 6

 7                                   /s/ Benjamin Mark Moss
                                     BENJAMIN MARK MOSS
 8                                   U.S. Department of Justice

 9

10

11

12

13

14

15

16

17

18

19

20


                    UNOPPOSED MOTION TO STRIKE PORTIONS OF PARAGRAPH 7
                    OF THE DECLARATION OF JAMES S. DE LA CRUZ, ECF 100-1- 4
